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                                      Exhibit B-2

                         Rothschild & Co Engagement Agreement




{1368.002-W0073135.}
4867-9382-4390 v.3
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 As of July 1, 2023

 Eversheds Sutherland (US) LLP
 227 West Monroe Street, Suite 6000
 Chicago, Illinois 60606
 Attn: Erin E. Broderick




 Ladies and Gentlemen:

         This letter (the “Agreement”) will confirm the terms and conditions of the agreement among
(i) the members of the executive committee (“Executive Committee”) of an Ad Hoc Committee of
Non-US Customers of FTX.com (the “Ad Hoc Committee”); (ii) Eversheds Sutherland (US) LLP
(“Counsel”), in its capacity as legal counsel to the Executive Committee and as an authorized agent
and signatory of each of the undersigned Executive Committee members made party hereto; and (iii)
Rothschild & Co US Inc. (“Rothschild & Co”), regarding the retention of Rothschild & Co as
exclusive financial advisor and investment banker to the Executive Committee and Counsel, on
behalf of the Executive Committee.

        By way of background, on November 11, 2022 and November 14, 2022, FTX Trading Ltd.
and certain of its affiliates (collectively, the “Company”) filed voluntary petitions for relief under
Title 11 of the United States Code §§ 101 et seq. (the “Bankruptcy Code”), in the United States
Bankruptcy Court for the District of Delaware (the “Bankruptcy Court” and such case, the
“Bankruptcy Case”).

        For purposes of this Agreement, Rothschild & Co’s engagement shall be deemed to be on
behalf of Counsel and the Executive Committee, and all direction as to the financial advisory services
provided herein shall be received by Rothschild & Co from Counsel or the Executive Committee,
notwithstanding the fact that the Company shall be responsible for the payment of the fees and
expenses to Rothschild & Co as set forth in a separate reimbursement agreement (the
“Reimbursement Agreement”) by and between the Company and Rothschild & Co.

         Each current member of the Executive Committee has been made a signatory hereto in
accordance with that certain resolution by written consent of the Executive Committee dated August
23, 2023, pursuant to which each current member of the Executive Committee has approved the
retention of Rothschild & Co on the terms of this Agreement and has authorized Counsel to execute
this Agreement on their behalf. This Agreement is legally binding with respect to each such member
of the Executive Committee and each such member of the Executive Committee shall be responsible
for their individual obligations hereunder as a member of the Executive Committee.




 Rothschild & Co US Inc.
 1251 Avenue of the Americas
 New York, NY 10020
 www.rothschildandco.com
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         Section 1 Services to be Rendered. Rothschild & Co will perform the following services
to the extent Rothschild & Co deems necessary, appropriate and feasible and as requested by Counsel
or the Executive Committee:

         (a)    assist Counsel and the Executive Committee in evaluating the financial aspects of
the Company, including with respect to the financial and operating statements of the Company; the
business plans and forecasts developed by the Company and the Company’s liquidity and financing
alternatives;

       (b)     provide such financial analyses as Counsel or the Executive Committee may
reasonably request, including recovery waterfall analyses (but excluding valuation and asset
monetization analyses unless otherwise agreed);

        (c)     review and analyze the Company’s recovery waterfall analyses;

        (d)     evaluate strategic alternatives of the Company;

        (e)      represent Counsel and the Executive Committee in negotiations with the Company
and other parties in interest;

         (f) analyze any proposed Plan (as defined herein) on behalf of Counsel and the
Executive Committee and assist Counsel and the Executive Committee in developing responses
thereto;

        (g)     as reasonably requested by Counsel or the Executive Committee, participate in
hearings before the Bankruptcy Court;

        (h)       assist Counsel and the Executive Committee in determining an appropriate capital
structure for the Company;

        (i)    attend meetings between Counsel, the Executive Committee and the Company and
advise Counsel and the Executive Committee in connection therewith; and

        (j)    render such other financial advisory and related services as may be agreed upon from
time to time by Counsel, the Executive Committee and Rothschild & Co in connection with the
foregoing.

        As used herein, the term “Plan” shall mean a chapter 11 plan of the Company confirmed in
connection with the Bankruptcy Case.

       As used herein, the term “Approved Plan” shall mean a Plan that (i) Rothschild & Co and
Counsel, on behalf of the Executive Committee, actively participate in the negotiation of, (ii)
Rothschild & Co and Counsel advise the Executive Committee to recommend for approval by the



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Ad Hoc Committee, and (iii) has been approved by at least two-thirds in amount of claims and half
in number of the primary class of FTX.com customers who submit votes on the Plan.

         In performing its services pursuant to this Agreement, and notwithstanding anything to the
contrary herein, Rothschild & Co is not assuming any responsibility for the decision of Counsel or
the Executive Committee to pursue (or not to pursue) any business strategy or to effect (or not to
effect) any Transaction or other transaction. Rothschild & Co shall not have any obligation or
responsibility to provide accounting, audit, “crisis management” or business consultant services, and
shall have no responsibility for designing or implementing operating, organizational, administrative,
cash management or liquidity improvements nor shall Rothschild & Co act in the official capacity of
an appraiser of specific assets of the Company or any other party.

       Counsel and the Executive Committee acknowledge that Rothschild & Co is not providing
any advice on tax, legal or accounting matters. Counsel and the Executive Committee will seek the
advice of their own respective professional advisors with respect to such matters and make an
independent decision regarding any transaction contemplated herein based on such advice.

        Section 2   Information Provided by the Company, Counsel and the Executive Committee.

         Counsel and the Executive Committee acknowledge and agree that, in rendering its services
hereunder, Rothschild & Co will be using and relying on information made available to it by the
Company, Counsel, the Executive Committee and their respective advisors (the “Information”) and
information available from public sources. Counsel and the Executive Committee recognize and
confirm that Rothschild & Co (i) will use and rely solely on the Information and on information
available from generally recognized public sources in performing the services contemplated by this
Agreement without having assumed any obligation to verify independently the same; (ii) will be
entitled to assume and rely upon the accuracy and completeness of the Information and such other
information; and (iii) does not assume responsibility for the accuracy or completeness of the
Information and such other information. Rothschild & Co will assume that any projected or
forecasted financial information provided by the Company, Counsel or the Executive Committee
reflects the best available estimates of future financial performance. Each of Counsel and the
Executive Committee will promptly notify Rothschild & Co if it learns of any material inaccuracy
or misstatement in, or material omission from, any Information previously delivered to Rothschild
& Co or if it has developed revised projections or forecasts.

        Section 3   Fees of Rothschild & Co.

         (a)        As compensation for the services rendered to Counsel and the Executive
Committee, Rothschild & Co shall be paid (via wire transfer or other mutually acceptable means)
the following fees in cash, which fees are acceptable to the Company, Counsel and the Executive
Committee:




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               i.   Commencing as of July 1, 2023, and whether or not a Transaction is proposed
                    or consummated, an advisory fee (the “Monthly Fee”) of $175,000 per month
                    during the term hereof.

              ii.   A fee (the “Transaction Fee”) of $3,500,000 payable upon the effective date of
                    an Approved Plan.

        (b)     The payment by the Company of Rothschild & Co’s fees and expenses, including
the Monthly Fee and the Transaction Fee, shall be made pursuant to the Reimbursement Agreement,
and will be subject to, and made in accordance with, the Bankruptcy Court’s order approving the
Company’s reimbursement obligations to Rothschild & Co.

         (c)     Counsel and the Executive Committee shall use commercially reasonable efforts to
cause the Company to request from the Bankruptcy Court the inclusion of a standard release and
indemnification provision in favor of Rothschild & Co, in a form materially consistent with Exhibit
A to this Agreement, in an Approved Plan. In addition, Counsel and the Executive Committee shall
use commercially reasonable efforts to cause any Transaction or any Plan to provide for payment in
full of all of Rothschild & Co’s fees, expenses and indemnification hereunder. Notwithstanding
anything herein to the contrary, no delay or failure by the Company to indemnify Rothschild & Co
under Exhibit A of this Agreement shall affect the obligations of the Company to reimburse
Rothschild & Co pursuant to the Reimbursement Agreement or as may otherwise be agreed to in
writing.

         Notwithstanding anything herein to the contrary, except as may otherwise be agreed to in
writing, in no event will Counsel or the Executive Committee be liable for Rothschild & Co’s fees
and expenses hereunder. Rothschild & Co acknowledges and agrees that, except as may otherwise
be agreed to in writing, neither Counsel nor the Executive Committee will be required to expend,
risk or advance any of their own funds to satisfy the fees or expenses of Rothschild & Co hereunder.
Notwithstanding such arrangement, Rothschild & Co’s duties hereunder run solely to Counsel and
the Executive Committee, and Rothschild & Co is not authorized to be, and will not purport to be,
acting on behalf or at the direction of the Company for any purpose unless otherwise agreed to by
Rothschild & Co, Counsel, the Executive Committee and the Company.

        Section 4 Expenses. Rothschild & Co shall be reimbursed for its reasonable and
documented out-of-pocket expenses incurred in connection with the performance of its engagement
hereunder, including, without limitation, the reasonable fees, disbursements and other charges of
Rothschild & Co’s counsel, pursuant to the Reimbursement Agreement, and subject to, and in
accordance with, the Bankruptcy Court’s order approving the Company’s reimbursement obligations
to Rothschild & Co. Reimbursable expenses shall also include, but not be limited to, expenses
incurred in connection with travel and lodging, data processing and communication charges, research
and courier services and performance of know-your-customer and anti-money laundering checks
with respect to the members Ad Hoc Committee.




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        Section 5 Indemnity and Exculpation. Subject to Section 3(c) hereof, the provisions of
Exhibit A hereto provide for indemnification of Rothschild & Co and certain related persons. Such
indemnification is an integral part of this Agreement and the terms thereof are incorporated by
reference as if fully stated herein. Such indemnification shall survive any termination, expiration or
completion of this Agreement or Rothschild & Co’s engagement hereunder.

         Counsel and the Executive Committee agree that no Exculpated Party (as defined below)
shall have any liability (whether direct or indirect, in contract tort or otherwise) to Counsel or the
Executive Committee for or in connection with advice or services rendered or to be rendered by any
Exculpated Party pursuant to this Agreement, the transactions contemplated hereby or any
Exculpated Party’s actions or inactions in connection with any such advice, services or transactions
except for and only to the extent that the losses of Counsel or the Executive Committee are finally
judicially determined by a court of competent jurisdiction to have arisen primarily because of the bad
faith, gross negligence, willful misconduct or fraud of such Exculpated Party in connection with any
such advice, actions, inactions or services. The term “Exculpated Party” means each of Rothschild
& Co, its affiliates (within the meaning of Rule 12b-2 of the Securities Exchange Act of 1934, as
amended) and each of their respective officers, directors, employees and agents and each other
person, if any, controlling Rothschild & Co or any of its affiliates.

        Section 6 Term. The term of Rothschild & Co’s engagement shall commence on the date
hereof and shall extend until the effective date of an Approved Plan and payment of all fees and
expenses hereunder that are due and payable. This Agreement may be earlier terminated by Counsel
or Rothschild & Co by providing thirty (30) days advance notice in writing. An Executive
Committee Member may terminate, as for itself, Rothschild & Co’s engagement (i) upon thirty (30)
business days’ written notice to Counsel, Rothschild & Co and the remaining Executive Committee
Members or (ii) upon delivery of written notice to Counsel, Rothschild & Co and the remaining
Executive Committee Members that such Executive Committee Member is no longer a beneficial
holder (or investment advisor or manager of beneficial holders) of any claims in the Bankruptcy
Case. For the avoidance of doubt, termination of Rothschild & Co’s engagement with respect to one
Executive Committee Member shall not terminate Rothschild & Co’s engagement with respect to
the other Executive Committee Members. In the event that this engagement is terminated by all
Executive Committee Members, the engagement shall, in turn, terminate with respect to Counsel.

         If this Agreement is terminated, Rothschild & Co shall be entitled to (a) reimbursement of
any and all reasonable expenses described in Section 4 and (b) payment of any fees which are due
and owing to Rothschild & Co upon the effective date of termination (including, without limitation,
any additional Monthly Fees required by Section 3(a)(i) hereof); provided, that the final Monthly Fee
will be pro-rated for any incomplete monthly period of service. Termination of this Agreement shall
not affect or impair the provisions of Exhibit A. Notwithstanding any termination of this Agreement
and subject to Section 3(c) hereof, the Transaction Fee shall be payable in the event that (a) an
Approved Plan becomes effective at any time prior to the expiration of one year after such
termination, or (b) an agreement with respect to a proposed Plan is executed by the Company and




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the applicable other parties at any time prior to one year after such termination (which agreement
subsequently results in the effectiveness of an Approved Plan at any time thereafter).

        Section 7    Miscellaneous.

         (a)     Survival, Successors & Assigns. Sections 3 through 7 hereof, inclusive, including
the provisions set forth in Exhibit A hereto, shall survive the termination or expiration of this
Agreement. The benefits of this Agreement shall inure to the respective successors and assigns of
the parties hereto and thereto, and the obligations and liabilities assumed in this Agreement and
Exhibit A by the parties hereto and thereto shall be binding upon their respective successors and
assigns.

         (b)     Ad Hoc Committee Members. All members of the Ad Hoc Committee must satisfy
Rothschild & Co’s compliance and onboarding procedures (including, without limitation,
satisfaction of customary know-your-customer and anti-money laundering checks). To satisfy those
procedures, (i) the information requested as part of Rothschild & Co’s initial know-your-customer
request will be provided by the members and shared with Rothschild & Co by September 11, 2023,
and (ii) the remaining know-your-customer information collected via the Company’s claims portal
will also be shared with Rothschild & Co, unless a member elects to provide this information to
Rothschild & Co in a different way. Counsel and the Executive Committee shall take all such action
as is required to remove from the Ad Hoc Committee any members that do not satisfy such
procedures as provided in clause (i) of the immediately preceding sentence unless otherwise agreed
by Rothschild & Co in writing (email being sufficient).

        (c)       Additional Members. Counsel has provided Rothschild & Co with a complete and
accurate list of all current members of the Ad Hoc Committee. Counsel shall promptly notify
Rothschild & Co if any additional person or entity seeks to join the Ad Hoc Committee, and any such
person or entity must satisfy the Rothschild & Co compliance and onboarding procedures detailed in
clauses (i) and (ii) of Section 7(b) above prior to, or within a reasonable period of time after, joining
the Ad Hoc Committee (as determined in good faith by Rothschild & Co and Counsel); provided,
that any such additional person or entity shall be subject to the last sentence of Section 7(b) of this
Agreement in the event that such additional person or entity fails to satisfy the foregoing procedures.

        (d)     Benefit of Agreement; No Reliance by Third Parties. The advice (oral or written)
rendered by Rothschild & Co pursuant to this Agreement is intended solely for the benefit and use
of Counsel and the Executive Committee in considering the matters to which this Agreement relates,
and Counsel and the Executive Committee agree that such advice may not be relied upon by any
other person (including, without limitation, any other member of the Ad Hoc Committee), used for
any other purpose or reproduced, disseminated, quoted or referred to at any time, in any manner or
for any purpose (including, without limitation, to any other member of the Ad Hoc Committee)
without the prior written consent of Rothschild & Co. In addition, Counsel and the Executive
Committee agree that they will not, and will not permit any of their affiliates to, make any public




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reference to Rothschild & Co except with the prior written consent of Rothschild & Co or as
otherwise provided in this Agreement. Notwithstanding the foregoing, Counsel, the Executive
Committee and Rothschild & Co shall agree in good-faith on a process whereby certain information
or materials provided by Rothschild & Co to the Executive Committee and Counsel may be shared
on a confidential and non-reliance basis with other members of the Ad Hoc Committee in furtherance
of the aims of this engagement, which will include, if requested by Rothschild & Co, the execution
(which may be electronically by “click through” agreements) of an access/non-reliance letter
acceptable to Rothschild & Co (which shall in all cases include language substantially similar to the
second paragraph of Section 5 of this Agreement). For greater certainty, Rothschild & Co shall have
no duties or obligations to any member of the Ad Hoc Committee other than the Executive
Committee.

        (e)      Nature of Relationship. The relationship of Rothschild & Co to Counsel and the
Executive Committee hereunder shall be that of an independent contractor and Rothschild & Co shall
have no authority to bind, represent or otherwise act as agent, executor, administrator, trustee, lawyer
or guardian for the Company, Counsel and the Executive Committee, nor shall Rothschild & Co have
the authority to manage money or property of the Company, Counsel or the Executive Committee.
The parties hereto acknowledge and agree that by providing the services contemplated hereunder,
Rothschild & Co will not act, nor will it be deemed to have acted, in any managerial or fiduciary
capacity whatsoever with respect to the Company, Counsel or the Executive Committee.

         (f)     Other Rothschild & Co Activities. Rothschild & Co and its affiliates are involved in
a wide range of financial advisory and investment banking activities from which conflicting interests
or duties may arise. Rothschild & Co will not have any duty to disclose to the Executive Committee
or Counsel or utilize for the Executive Committee’s or Counsel’s benefit any non-public information
acquired in the course of providing services to any third-party, engaging in any transaction (for its
own account or otherwise) or otherwise carrying on its business. In addition, in the ordinary course
of business, Rothschild & Co and its affiliates may provide financial advisory or other investment
banking services to, or have other relationships with, companies that may be customers,
counterparties or competitors of the members of the Executive Committee or the Company or that
may otherwise have relationships with the members of the Executive Committee or the Company.
In the ordinary course of their asset management, merchant banking and other business activities,
affiliates of Rothschild & Co may hold long or short positions, and may trade or otherwise effect
transactions, for their own accounts or the accounts of their clients in equity, debt or other securities
(or related derivative securities) or financial instruments of any company that may be involved in the
Bankruptcy Case.

         (g)     Required Information. Counsel agrees to provide Rothschild & Co with its tax or
other similar identification numbers and/or other identifying documents, as Rothschild & Co may
request, to enable it to comply with applicable law. For your information, Rothschild & Co may also
screen Counsel against various databases to verify its identity. Each member of the Executive
Committee represents and warrants that it has provided to Rothschild & Co a true and complete list




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of (i) its directors and executive officers and (ii) each beneficial owner of 20% or more of its
outstanding equity interests on a fully-diluted basis.

         (h)    Public Announcements. Counsel and the Executive Committee acknowledge that
Rothschild & Co may at its option and expense, after announcement of a Transaction, place
announcements and advertisements or otherwise publicize the Transaction in such financial and other
newspapers and journals as it may choose, stating that Rothschild & Co acted as financial advisor to
the Executive Committee in connection with such transaction. Counsel and the Executive Committee
further acknowledge that Rothschild & Co may reference its engagement as financial advisor to the
Executive Committee in its general marketing and promotional materials.

      (i)   CHOICE OF LAW: JURISDICTION.    THIS AGREEMENT HAS BEEN
NEGOTIATED, EXECUTED AND DELIVERED AT AND SHALL BE DEEMED TO HAVE
BEEN MADE IN NEW YORK, NEW YORK. THIS AGREEMENT SHALL BE GOVERNED BY
AND CONSTRUED IN ACCORDANCE WITH THE LAWS OF THE STATE OF NEW YORK,
WITHOUT GIVING EFFECT TO SUCH STATE’S PRINCIPLES OF CONFLICTS OF LAWS.
REGARDLESS OF ANY PRESENT OR FUTURE DOMICILE OR PRINCIPAL PLACE OF
BUSINESS OF THE PARTIES HERETO, EACH SUCH PARTY HEREBY IRREVOCABLY
CONSENTS AND AGREES THAT ANY AND ALL CLAIMS OR DISPUTES BETWEEN THE
PARTIES HERETO PERTAINING TO THIS AGREEMENT OR TO ANY MATTER ARISING
OUT OF OR RELATED TO THIS AGREEMENT SHALL BE BROUGHT IN (A) ANY STATE
OR FEDERAL COURT OF COMPETENT JURISDICTION IN THE STATE OF NEW YORK OR
(B) THE BANKRUPTCY COURT OR ANY COURT HAVING APPELLATE JURISDICTION
OVER THE BANKRUPTCY COURT. BY EXECUTION AND DELIVERY OF THIS
AGREEMENT, EACH PARTY SUBMITS AND CONSENTS IN ADVANCE TO SUCH
JURISDICTION IN ANY ACTION OR SUIT COMMENCED IN ANY SUCH COURT. EACH
PARTY HERETO HEREBY WAIVES ANY OBJECTION WHICH IT MAY HAVE BASED ON
LACK OF PERSONAL JURISDICTION, IMPROPER VENUE OR FORUM NON CONVENIENS
AND HEREBY CONSENTS TO THE GRANTING OF SUCH LEGAL OR EQUITABLE RELIEF
AS IS DEEMED APPROPRIATE BY SUCH COURT. EACH PARTY CONSENTS TO THE
SERVICE OF PROCESS IN ACCORDANCE WITH NEW YORK LAW, AND AGREES THAT
THE SIGNATORIES IDENTIFIED ON THE SIGNATORY PAGE HEREOF SHALL BE
AUTHORIZED TO ACCEPT SERVICE ON ITS BEHALF.

         (j)     Waiver of Jury Trial. Each of the parties hereto hereby knowingly, voluntarily and
irrevocably waives any right it may have to a trial by jury in respect of any claim upon, arising out
of or in connection with this Agreement or any Transaction. Each of the parties hereto hereby
certifies that no representative or agent of any other party hereto has represented, expressly or
otherwise, that such party would not seek to enforce the provisions of this waiver. Each of the parties
hereto hereby acknowledges that it has been induced to enter into this Agreement by and in reliance
upon, among other things, the provisions of this paragraph.




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          (k)     Entire Agreement. This Agreement, including the exhibit(s) hereto, embodies the
entire agreement and understanding of the parties hereto and supersedes any and all prior agreements,
arrangements and understandings relating to the matters provided for herein. No alteration, waiver,
amendment, change or supplement hereto shall be binding or effective unless the same is set forth in
writing signed by a duly authorized representative of each of the parties hereto. Each of the parties
hereto represent and warrant that they are each validly existing and in good-standing under the laws
of its jurisdiction of incorporation or formation.

         (l)      Authority. Each party hereto represents and warrants that it has all requisite power
and authority to enter into this Agreement and the transactions contemplated hereby. Each party
hereto further represents that this Agreement has been duly and validly authorized by all necessary
corporate action and has been duly executed and delivered by each of the parties hereto and
constitutes the legal, valid and binding agreement thereof, enforceable in accordance with its terms.
Rothschild & Co will assume that any instructions, notices or requests have been properly authorized
by Counsel or a member of the Executive Committee, as applicable, if they are given or purported
to be given by a person who is, or is reasonably believed by Rothschild & Co to be, a director, officer,
employee or authorized agent of Counsel or a member of the Executive Committee, as applicable.

        (m)     Counterparts. This Agreement may be executed in two or more counterparts, each
of which shall be deemed an original, but all of which shall constitute one and the same agreement.
Delivery of an executed counterpart of a signature page to this Agreement by facsimile, portable
document format (PDF) or other electronic means shall be effective as delivery of a manually
executed counterpart to this Agreement.

          (n)    Notices. Any notice given pursuant to, or relating to, this Agreement shall be in
writing and shall be mailed or delivered by courier (a) if to Counsel, at the address set forth above,
(b) if to the Executive Committee, to Counsel, acting on its behalf, and (c) if to Rothschild & Co, to
Rothschild & Co US Inc., 1251 Avenue of the Americas, 33rd Floor, New York, New York 10020,
Attention: Charles Delo, with a copy to Rothschild & Co US Inc., 1251 Avenue of the Americas,
34th Floor, New York, New York 10020, Attention: General Counsel.




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         If the foregoing correctly sets forth the understanding and agreement among the parties
hereto, please so indicate by signing the enclosed copy of this Agreement, whereupon it shall become
a binding agreement among the parties hereto as of the date first above written.


                                                        Very truly yours,

                                                        ROTHSCHILD & CO US INC.


                                                        By:____________________________
                                                           Name: Charles Delo
                                                           Title: Managing Director

                                                         Date:__________________________
                                                               August 23, 2023



                                                         Acknowledged:

                                                         ROTHSCHILD & CO
                                                         LEGAL & COMPLIANCE


                                                         By:________________________
                                                           Name: Kate Taylor
                                                           Title: Associate General Counsel

                                                               August 23, 2023
                                                         Date:__________________________




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Accepted and Agreed to as of
the date first written above:

EVERSHEDS SUTHERLAND (US) LLP,
as counsel to the Executive Committee



By:______________________________
   Name: Erin E. Broderick
   Title: Counsel

Date: August 23, 2023




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Eversheds Sutherland (US) LLP
As of July 1, 2023




Accepted and Agreed to as of
the date first written above:


K-BIT GLOBAL LIMITED, as a
member of the Executive Committee

By: Eversheds Sutherland (US) LLP, as
counsel to the Executive Committee




By: Erin E. Broderick
Its: Authorized Signatory




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GSR MARKETS LIMITED, as a
member of the Executive Committee

By: Eversheds Sutherland (US) LLP, as
counsel to the Executive Committee




By: Erin E. Broderick
Its: Authorized Signatory




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NICKEL       DIGITAL  ASSET
MANAGEMENT, as a member of the
Executive Committee

By: Eversheds Sutherland (US) LLP, as
counsel to the Executive Committee




By: Erin E. Broderick
Its: Authorized Signatory




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SVALBARD HOLDINGS LIMITED,
as a member of the Executive Committee

By: Eversheds Sutherland (US) LLP, as
counsel to the Executive Committee




By: Erin E. Broderick
Its: Authorized Signatory




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FC CAYMAN A, L.L.C., as a member
of the Executive Committee

By: Eversheds Sutherland (US) LLP, as
counsel to the Executive Committee




By: Erin E. Broderick
Its: Authorized Signatory




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                                              Exhibit A


        For the avoidance of doubt, Section 3(c) of this Agreement shall govern any payments
associated with the indemnification obligations set forth in this Exhibit A.

         Rothschild & Co and its affiliates, counsel and other professional advisors, and the respective
directors, officers, controlling persons, agents and employees of each of the foregoing (Rothschild
& Co and each of such other persons, an “Indemnified Party” and, collectively, the “Indemnified
Parties”), shall be indemnified and held harmless from and against any losses, claims or proceedings,
including, without limitation, stockholder actions, damages, judgments, assessments, investigation
costs, settlement costs, fines, penalties, arbitration awards and any other liabilities, costs, fees and
expenses (collectively, “Losses”) directly or indirectly in connection with, arising out of, based upon
or in any way related to the engagement of Rothschild & Co under this Agreement or any transaction,
activities or conduct in connection therewith, regardless of whether such activities or conduct
occurred prior to or after the date hereof, provided no Indemnified Party shall be indemnified for
such Losses if and only to the extent that it is finally judicially determined by a court of competent
jurisdiction that such Losses arose primarily because of the gross negligence, willful misconduct or
fraud of such Indemnified Party. If multiple claims are brought against an Indemnified Party, with
respect to at least one of which indemnification is permitted under applicable law and provided for
under this Agreement, any judgment or award against such Indemnified Party shall be conclusively
deemed to be based on claims as to which indemnification is permitted and provided for, except to
the extent the judgment or award expressly states that it, or any portion thereof, is based on a claim
as to which indemnification is not available.

         The Indemnified Parties shall also be promptly reimbursed for any reasonable legal or other
fees, disbursements or expenses as they are incurred (a) in investigating, preparing, pursuing or
settling any action or other proceeding (whether formal or informal) or threat thereof (including,
without limitation, any reasonable expenses incurred in connection with any response to a subpoena
or similar request for documents and/or testimony) relating to any of the matters covered by the
indemnification set forth in the preceding paragraph, whether or not in connection with pending or
threatened litigation or arbitration and whether or not any Indemnified Party is a party (each, an
“Action”) and (b) in connection with enforcing such Indemnified Party’s rights under this
Agreement; provided, however, that in the event and only to the extent that it is finally judicially
determined by a court of competent jurisdiction that the Losses of such Indemnified Party arose
primarily because of the gross negligence, willful misconduct or fraud of such Indemnified Party,
such Indemnified Party will promptly remit any amounts reimbursed under this paragraph.

         The rights of the Indemnified Parties hereunder shall be in addition to any other rights that
any Indemnified Party may have at common law, by statute or otherwise. Except as otherwise
expressly provided for in this Agreement, if any term, provision, covenant or restriction contained in
this Agreement is held by a court of competent jurisdiction or other authority to be invalid, void,
unenforceable or against its regulatory policy, the remainder of the terms, provisions, covenants and
restrictions contained in this Agreement shall all remain in full force and effect and shall in no way
be affected, impaired or invalidated. The reimbursement, indemnity and contribution obligations set
forth herein shall apply to any modification of this Agreement and shall remain in full force and
effect regardless of any termination or expiration of this Agreement.




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As of October 24, 2023


Eversheds Sutherland (US) LLP
227 West Monroe Street, Suite 600
Chicago, Illinois 60606
Attn: Erin E. Broderick



Ladies and Gentlemen:

                This letter (this “Amendment”) will amend the letter agreement, dated as of July 1, 2023 (the
“Engagement Letter”) among (i) the members of the executive committee (“Executive Committee”) of an Ad
Hoc Committee of Non-US Customers of FTX.com (the “Ad Hoc Committee”); (ii) Eversheds Sutherland (US)
LLP (“Counsel”), in its capacity as legal counsel to the Executive Committee and as an authorized agent and
signatory of each of the undersigned Executive Committee members made party hereto; and (iii) Rothschild &
Co US Inc. (“Rothschild & Co”). Capitalized terms used herein but not defined shall have the meanings assigned
thereto in the Engagement Letter.

    1. Additional Services.

        In addition to the services set forth in the Engagement Letter, Rothschild & Co will perform the following
additional services to the extent Rothschild & Co deems necessary, appropriate and feasible and as reasonably
requested by Counsel or the Executive Committee:

        (a) provide input on behalf of the Executive Committee on the short-term monetization strategy for
            certain investments of the Company’s venture portfolio and participate on behalf of the Executive
            Committee in the process of selecting a general partner to oversee and monetize the remainder of the
            portfolio;

        (b) support the Executive Committee in the development of a potential exit facility that provides liquidity
            to fund an early cash-out option for customers; and

        (c) assist Counsel and the Executive Committee in evaluating the financial terms of any potential merger
            and acquisition transactions proposed with respect to the Company in the Bankruptcy Case and
            advising Counsel and the Executive Committee with respect to the financial aspects of any such
            transactions.

    2. Transaction Fee.

         The Transaction Fee set forth in the Engagement Letter shall be increased to $5 million, payable upon
the effective date of an Approved Plan.




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    3. Miscellaneous.

        Except as expressly set forth above, the Engagement Letter is in all respects ratified and confirmed and
the terms thereof shall be and remain in full force and effect.

         The choice of law and jurisdiction provisions contained in Section 7 of the Engagement Letter shall apply
to this Amendment.

          This Amendment may be executed in counterparts, each of which shall be deemed an original, but all of
which shall constitute one and the same agreement. Delivery of an executed counterpart of a signature page to
this letter agreement by facsimile, portable document format (PDF) or other electronic means shall be effective
as delivery of a manually executed counterpart to this Amendment.




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         If you are in agreement with the above, please so indicate by signing the enclosed copy of this
Amendment in the space designated below and returning it to us whereupon this letter shall be binding upon the
parties hereto.


                                                        Very truly yours,

                                                        ROTHSCHILD & CO US INC.


                                                        By:____________________________
                                                           Name: Charles Delo
                                                           Title: Managing Director


                                                             Date:__________________________
                                                                   10/24/23



                                                        Acknowledged:

                                                        ROTHSCHILD & CO
                                                        LEGAL & COMPLIANCE


                                                        By:________________________
                                                           Name: Kate Taylor
                                                           Title: Associate General Counsel

                                                              October 24, 2023
                                                        Date:__________________________
Accepted and Agreed to as of
the date first written above:

EVERSHEDS SUTHERLAND (US) LLP,
as counsel to the Executive Committee


By:_____________________________
   Name: Sarah E. Paul
   Title: Partner

       October 25, 2023
Date:___________________________




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Accepted and Agreed to as of
the date first written above:

K-BIT GLOBAL LIMITED, as a
member of the Executive Committee

By: Eversheds Sutherland (US) LLP, as
counsel to the Executive Committee

By:_____________________________
   Name: Sarah E. Paul
   Title: Partner

        October 25, 2023
Date:___________________________




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GSR MARKETS LIMITED, as a
member of the Executive Committee

By: Eversheds Sutherland (US) LLP, as
counsel to the Executive Committee


By:_____________________________
   Name: Sarah E. Paul
   Title: Partner
        October 25, 2023
Date:___________________________




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NICKEL DIGITAL ASSET
MANAGEMENT, as a member of the
Executive Committee

By: Eversheds Sutherland (US) LLP, as
counsel to the Executive Committee


By:_____________________________
   Name: Sarah E. Paul
   Title: Partner
       October 25, 2023
Date:___________________________




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SVALBARD HOLDINGS LIMITED,
as a member of the Executive Committee

By: Eversheds Sutherland (US) LLP, as
counsel to the Executive Committee


By:_____________________________
   Name: Sarah E. Paul
   Title: Partner

        October 25, 2023
Date:___________________________




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FC CAYMAN A, L.L.C., as a member
of the Executive Committee

By: Eversheds Sutherland (US) LLP, as
counsel to the Executive Committee


By:_____________________________
   Name: Sarah E. Paul
   Title: Partner

         October 25, 2023
Date:___________________________




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